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                                                  6   COMPANY; CIGNA BEHAVIORAL HEALTH,
                                                      INC.
                                                  7

                                                  8                         UNITED STATES DISTRICT COURT
                                                  9                       CENTRAL DISTRICT OF CALIFORNIA
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                                                 11   BRISTOL SL HOLDINGS, INC., a        )          CASE NO. 8:19-cv-00709-PSG-ADS
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                                                                                          )
                                                      California corporation, in its capacity as
                                                 12   the assignee for SURE HAVEN, INC., a)          [PROPOSED] ORDER GRANTING
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                                                      California corporation,             )          JOINT STIPULATION FOR
                               LOS ANGELES




                                                 13                                       )          EXTENSION OF CASE
                                                                        Plaintiff,        )          SCHEDULE
                                                 14                                       )
                                                             v.                           )          JUDGE: Hon. Philip S. Gutierrez
                                                 15                                       )          DEPT:  6A
                                                      CIGNA HEALTH AND LIFE               )
                                                 16   INSURANCE COMPANY, a Connecticut )
                                                      corporation; CIGNA BEHAVIORAL       )
                                                 17   HEALTH, INC., a Connecticut         )
                                                      corporation; and DOES 1 through 10, )
                                                 18   inclusive,                          )
                                                                                          )
                                                 19                     Defendants.       )
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                                                                                          [PROPOSED] ORDER
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                                                  1         This Stipulation for Extension of the Document Production Deadline (the
                                                  2   “Stipulation”) filed by Defendants Cigna Health and Life Insurance Company and
                                                  3   Cigna Behavioral Health, Inc. (“Cigna” or “Defendants”) and Plaintiff Bristol SL
                                                  4   Holdings, Inc. (“Bristol” or “Plaintiff”) (together, “the Parties”) came on for hearing
                                                  5   before the Honorable Philip S. Gutierrez presiding. The evidence and arguments
                                                  6   presented having been fully considered, and the issues having been duly heard, it is
                                                  7   hereby ORDERED that the Stipulation is GRANTED as follows:
                                                  8         1.     On April 22, 2022, the Parties participated in a hearing before the Court
                                                  9   where the Parties discussed with the Court a rough proposal for a discovery, motion,
                                                 10   and trial schedule in light of the Ninth Circuit’s ruling. At the hearing, the Court
                                                 11   requested that the Parties meet and confer and memorialize an agreed-upon schedule
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                                                 12   and submit a stipulation to the Court for review and approval. (Dkt. 100.)
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                               LOS ANGELES




                                                 13         2.     On April 29, 2022, the Parties submitted an agreed-upon schedule
                                                 14   pursuant to the Court’s request. (Dkt. 101.)
                                                 15         3.     On May 2, 2022, the Court entered the Parties’ agreed-upon schedule by
                                                 16   Order. (Dkt. 103.)
                                                 17         4.     On June 21, 2022, the Court entered an extension of the document
                                                 18   production deadline from June 21, 2022 to July 12, 2022 that the Parties had agreed to
                                                 19   by stipulation. (Dkt. 115.)
                                                 20         5.     The Parties have met and conferred about depositions and exchanged lists
                                                 21   of witnesses to be deposed. The Parties currently anticipate the need for over 10
                                                 22   depositions, including 30(b)(6) witness depositions.
                                                 23         6.     The Parties have preliminarily checked the availability of these witnesses,
                                                 24   and the Parties have learned that many witnesses are not available before for deposition
                                                 25   before the August 5, 2022 deposition cut-off.
                                                 26         7.     The Parties believe, however, that most, if not all of the witnesses will be
                                                 27   available for deposition in August of 2022, and the witnesses have been told to block
                                                 28   their schedules.

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                                                                                          [PROPOSED] ORDER
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                                                  1         8.     The Parties have agreed to add to the schedule a deadline to serve
                                                  2   deposition notices, including Rule 30(b)(6) notices, of July 15, 2022 and a deadline for
                                                  3   responses and objections of August 5, 2022.
                                                  4         9.     Separately, while the Parties continue to work in good faith, the search
                                                  5   for and collection of the remaining documents continues to take longer than anticipated
                                                  6   given the volume and age of some of the documents, which go back to 2015 and have
                                                  7   been archived. It has been a manual process to locate these documents, and despite
                                                  8   the Parties’ best efforts, collection and production of all documents will not be
                                                  9   complete by July 12, 2022.
                                                 10         10.    The Parties believe, however, that the key documents necessary for the
                                                 11   depositions of most, if not all, witnesses have already been produced or will be
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                                                 12   produced by the end of July. With that understanding, the Parties agree to extend the
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                                                 13   document production deadline from July 12, 2022 to August 31, 2022.
                                                 14         11.    The Parties have agreed that depositions can go forward before the
                                                 15   document production deadline. The Parties have agreed to reserve all rights with
                                                 16   respect to re-calling a witness to testify about documents produced after their
                                                 17   deposition, and have allowed two weeks after the document production deadline for
                                                 18   any final depositions.
                                                 19         12.    To accommodate the extension of the deposition schedule, the Parties
                                                 20   have agreed to extend the remaining deadlines by roughly the same amount of time.
                                                 21         13.    Finally, the Parties have agreed that it would be productive to conduct a
                                                 22   mediation after discovery and summary judgment motions are filed. The Parties have
                                                 23   agreed they must mediate by October 31, 2022.
                                                 24         14.    Accordingly, the Parties have met and conferred and respectfully request
                                                 25   an extension of the trial schedule as follows:
                                                 26         15.    Deposition Notices: Deposition notices, including any deposition notice
                                                 27   pursuant to Rule 30(b)(6), to be served by July 15, 2022.
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                                                                                          [PROPOSED] ORDER
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                                                  1         16.    Responses and Objections to Deposition Notices:             Responses and
                                                  2   objections to deposition notices, including any deposition notice pursuant to Rule
                                                  3   30(b)(6), to be served by August 5, 2022.
                                                  4         17.    Document Production: Document production deadline from July 12,
                                                  5   2022 to August 31, 2022.
                                                  6         18.    Deposition Deadline: The deadline to complete all depositions from on
                                                  7   or before August 5, 2022 to September 14, 2022.
                                                  8         19.    Discovery Cut-Off: The discovery cut-off from August 12, 2022 to
                                                  9   September 21, 2022. The one week period after the deposition deadline is to allow
                                                 10   for the resolution of any existing discovery disputes. Neither party may use this period
                                                 11   to produce new evidence.
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                                                 12         20.    Motions for Summary Judgment: Any motions for summary
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                                                 13   judgment from September 7, 2022 to on or before October 12, 2022.
                                                 14         21.    Mediation: The Parties will conduct a mediation by October 31, 2022.
                                                 15         22.    Motions in Limine: Motions in limine from October 21, 2022 to
                                                 16   December 2, 2022, or a date that is convenient for the Court.
                                                 17         23.   Pre-Trial Conference: Pre-trial conference from November 18, 2022
                                                 18   to January 6, 202 or a date thereafter which is convenient for the Court.
                                                 19         24.   Trial Date: The trial from December 8, 2022 to January 26, 202 or a
                                                 20   date thereafter which is convenient for the Court. If the Court cannot begin trial on or
                                                 21   about January 19, 202, the Parties ask for a trial date in February or March 2023.
                                                 22         25.   This is the first request for an extension of these deadlines, including the
                                                 23   Trial date, except for the document production deadline, for which this is the second
                                                 24   extension. For the foregoing reasons, there is good cause for the extension.
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                                                                                          [PROPOSED] ORDER
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                                                  1        IT SO ORDERED.
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                                                               07/13/
                                                  3   Dated:               , 2022
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                                                                                     By:
                                                  5                                        HON. PHILIP S. GUTIERREZ
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                                                                                     [PROPOSED] ORDER
